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                         Exhibit 1-X
            Evidence Packet in Support of Defendant’s Motions for Summary Judgment



              U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                               Exhibit 1X
                                                               White Decl. ISO Disney's SJ Motion P.0442
    Case 2:15-cv-05346-CJC-E DocumentJulia
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA


        T.P., by and through S.P.,
        as next friend, parent, and
        natural guardian, et al.,

                Plaintiffs,
                                             CIVIL ACTION NO.
        V.                                   2:15-cv-05346-R-E

        Walt Disney Parks and
        Resorts U.S., Inc.,

               Defendant.




        ********************************************************

                       ORAL AND VIDEOTAPED DEPOSITION OF

                              JULIA LEVY CAMPBELL

                                    VOLUME I

        ********************************************************




                                  REPORTED BY:

             CANDYCE E. FISHER, TX CSR No. 9421, CA CSR No. 13771

                                  P.O. BOX 1264

                              RED OAK, TEXAS 75154


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
                                      (877) 479-2484White Decl. ISO Disney's SJ Motion P.0443
    Case 2:15-cv-05346-CJC-E DocumentJulia
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              BE IT REMEMBERED THAT oral and videotaped

        deposition of JULIA LEVY CAMPBELL, produced as a witness

        at the instance of the Defendant and duly sworn, was

        taken in the above-styled and - numbered cause on Monday,

        November 11, 2019, from 10 : 02 a.m. to 6 : 48 p.m., before

        Candyce E. Fisher, CSR in and for the State of Texas,

        reported by machine shorthand, at the offices of

        McDermott Will    &   Emery LLP, 2501 North Harwood Street,

        Suite 1900, Dallas, Texas 75201, pursuant to the Federal

        Rules of Civil Procedure and the provisions stated on

        the record or attached hereto .




                                    U.S . LEGAL SUPPORT                               Exhibit 1X
                                      (877) 479 - 2484White Decl. ISO Disney's SJ Motion P.0444
    Case 2:15-cv-05346-CJC-E DocumentJulia
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     1                            APPEARANCES

     2

     3 FOR PLAINTIFFS:

     4             DOGALI LAW GROUP, P.A.

     5       BY:   Andy Dogali, Esq .
                   101 East Kennedy Boulevard
     6             Suite 1100
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     7             (813) 289 - 0700
                   adogali@dogalilaw.com
     8

     9

    10 FOR DEFENDANT :

    11             MCDERMOTT WILL    &   EMERY LLP

    12       BY:   Jeremy M. White, Esq.
                   -and-
    13             Sarah Schanz, Esq.
                   500 North Capitol Street, NW
    14             Washington, D.C. 20001
                    (202) 756-8000
    15             jmwhite@mwe.com

    16

    17

    18

    19 ALSO PRESENT:

    20             Rick Bel l, Videographer

    21

    22                              * * * * *
    23

    24

    25


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
                                      (877) 479-2484White Decl. ISO Disney's SJ Motion P.0445
    Case 2:15-cv-05346-CJC-E Document 469-46 Filed 12/10/20 Page 5 of 66 Page ID
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     1                            PROCEEDINGS

     2                   THE VIDEOGRAPHER:       We're on the record at

     3 10:02 a.m.    Today is November 11th, 2019.             This is the

     4 oral and video-recorded deposition of Julia Levy

     5 Campbell and beginning of Part 1.           This is in the matter

     6 of T.P., by and through S.P., as next friend, parent,

     7 and natural guardian, et al., versus Walt Disney Park

     8 and Resorts U.S., Incorporated, in the United States

     9 District Court, Central District of California, case

    10 number 2:15-CV-05346-R-E.       We're located today at

    11 2501 North Harwood Street, suite 1900, Dallas, Texas.

    12                   Will counsel please state their

    13 appearance for the record.       Start with the plaintiff.

    14                   MR. DOGALI:    Andy Dogali for the

    15 plaintiffs.

    16                   MR. WHITE:    Jeremy White on behalf of

    17 Defendant Walt Disney Parks and Resorts U.S.,

    18 incorporated.

    19                   THE VIDEOGRAPHER:       Thank you.

    20                   Will the court reporter please swear in

    21 the witness.

    22                   [Witness sworn.]

    23 ///

    24 ///

    25 ///


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0446
    Case 2:15-cv-05346-CJC-E DocumentJulia
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     1       Q     -- period of time.       Okay.

     2       A     No.

     3       Q     Other than going to the grocery store or

     4 Target or Wal-Mart, is there anything else that you

     5 would do with him during the weekend?

     6       A     I used to take him to Sunday services, but I

     7 don't anymore.

     8       Q     When did you stop going to Sunday services?

     9       A     It's been a while.        I don't know the exact

    10 date, but it's been a couple years.

    11       Q     Okay.   How long are services usually on

    12 Sundays?

    13       A     Sundays is an hour and forty - five minutes.

    14       Q     Okay.   And prior to when you stopped, would

    15 you try to take him every Sunday or every couple of

    16 Sundays a month?     Or how would you go about doing that?

    17       A     I don't recall how often I took him, so I

    18 can't tell you if it was every Sunday, once a

    19 month

    20       Q     Is there a lot of singing in your services?

    21       A     Yes.

    22       Q     Did he enjoy that?

    23       A     I don't know.

    24       Q     Okay.   And so how - - when you were taking him

    25 to Sunday services, how frequently would you take him?


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
                                      (877) 479-2484White Decl. ISO Disney's SJ Motion P.0447
    Case 2:15-cv-05346-CJC-E DocumentJulia
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     1 jingle, something squishy,      for sensory.              And usually,

     2 the appetizers don't take, you know, five to ten

     3   minutes.   And then it comes out and he's satisfied .                         He

     4   has his French fries or whatever it is.

     5        Q     Do you take him to the doctors, or does his

     6   father take him to the doctors, typically?

     7        A     Currently, we both take him to the doctors.

     8   And sometimes, on occasion -- on occasions, a therapist

     9   wil l join us.

    10        Q     And when do you usually do that?                  During the

    11 week or on the weekends?

    12        A     Most of his doctors ' appointments are during

    13 the week.

    14        Q     During the week.     And who does he regularly

    15 see, in terms of doctors?

    16        A     He sees a psychiatrist .

    17        Q     That's Dr. Elliot?

    18        A     Dr. El liot.   He sees a gastro doctor.                    That's

    19 Dr . Sanghavi.     He sees a developmental pediatrician

    20 occasional ly.     We use him for hol istic medicine.

    21        Q     Is that Dr. Naidoo?

    22        A     Dr. Naidoo.    And his primary pediatrician is

    23 Dr. Meyer, who we see once a year.               If nothing is wrong

    24 with him, you know, health - wise, we see her

    25        Q     Kind of like for a well visit?


                                    U .S . LEGAL SUPPORT                                      Exhibit 1X
                                       (8 7 7)   4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0448
    Case 2:15-cv-05346-CJC-E DocumentJulia
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     1        A    For a well visit.        We can also see Dr. Naidoo

     2 for a well visit as well, but she's just a primary.                            And

     3 she ' ll do his checkups, although, because of the

     4   medications he's on, Dr. Elliot does a lot of blood work

     5   on him.

     6        Q    And is he primarily seeing Dr . Elliot for the

     7 medications,    like the ADHD medication?               Or is he seeing

     8   Dr. Elliot for other reasons as well?

     9        A    The autism, ADHD behaviors, that kind of

    10 thing.

    11        Q    But is he having -- is Kendall having therapy

    12 appointments with Dr. Elliot?           Or is it more Dr. Elliot

    13 observing him and talking to you about medications?

    14        A    When we're in the room with Dr. Elliot, he's

    15 observing Kendall.      And then he ' s talking to us about,

    16 you know, what's going on with him,              talking to us

    17 about -- you know, back when he was at Focus, he really

    1 8 wanted us to put h i m i n ABA.       And, you know, suggesting

    19 different things that would help him to be able to

    20 communicate and just help with his beh aviors.                      We were

    21 referred to Dr. Elliot -- it could have been 2015.

    22        Q    I see there ' s also a Dr. Tr an listed on

    23 your

    24        A    Yes .

    25        Q    -- list of doctors.         Was Dr. Tran before


                                    U .S . LEGAL SUPPORT                                    Exhibit 1X
                                       (8 7 7) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0449
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     1 depression, anxiety, that sort of thing?

     2       A     So outside of autism or

     3       Q     Yes .

     4       A     He may have seen a psychologist when he was

     5   three years old for Metro        Dallas Metrocare.

     6       Q     Well, other - -

     7       A     But that was an evaluation          --
     8       Q     Right .

     9       A     - - to determine, you know --

    10       Q     Whether he had autism or not?

    11       A     Right .

    12       Q     So other - - put that aside.             Has he ever seen

    13 any therapists, psychologists, or psychiatrists for a

    14 mental health issue like anxiety or depression?

    15       A     No.

    16       Q     Have you ever seen a therapist, psychiatrist,

    17 or psychologist for any mental health issue -- anxiety,

    18 depression, any stress, that sort of thing?

    19       A     Primarily, I see my personal care physician .

    20 I haven't gone to any psychiatrist .

    21       Q     So you've never gone to a psychiatrist or

    22 therapist o r mental health provider regarding depression

    23 or anxiety or being distressed.          Is that right?

    24       A     As far as I know.

    25       Q     Would you know if you have been to one?


                                     U .S . LEGAL SUPPORT                                   Exhibit 1X
                                       (877)   4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0450
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     1 depression?

     2        A    No.

     3        Q    Have you ever seen Dr. Fowler or Ms. Goethals

     4 for any mental health issues?

     5        A    I've had some stressful -- I had a stressful

     6 job, and I may have talked to them about it years ago .

     7        Q    Other than that, have you ever spoken to

     8   Dr. Fowler or Ms . Goethals about any stressful issues

     9   depression, anxiety, stress, that sort of thing?

    10        A    That's all I can remember talking to them in

    11 terms of anxiety or stress.

    12        Q    Okay.    So the only time you've ever spoken to

    13 Dr. Fowler or Ms . Goethals about anxiety or stress would

    14 have been relating to your job several years ago?

    15        A    Job and perhaps - - I had some miscarriages and

    16 that caused stress.

    17        Q    What time period are we talking about?                        Years

    1 8 and years ago; right?

    19        A    Oh, Lord .   Yeah .

    20        Q    So - -

    21        A    Before Kendall.

    22        Q    Okay.    So in the past - - in the past six

    23 years, have you ever spoken to Dr. Fowler or

    24 Ms. Goethals about anything stress - related or anything

    25 related to anxiety, depression, being distressed?



                                    U .S . LEGAL SUPPORT                                    Exhibit 1X
                                       (8 7 7) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0451
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     1       A      I don't recall doing so.

     2        Q     Would you recall if you had spoken to them

     3 about it?

     4       A      Yes.

     5        Q     Okay.    And the only other time that you

     6 remember talking about something with them stressful was

     7 relating to a       job, and you had some miscarriages many,

     8   many years ago?

     9        A     That's what I can recall.

    10        Q     Did you ever speak to Dr. Fowler or

    11 Ms. Goethals about when Kendall was in that bus

    12 accident?

    13       A      I may have.     But I'm not sure.           Because they

    14 know that I deal with Kendall's disability.                  And so when

    15 I go in, they ask, you know,         "How's everything going?"

    16        Q    And you've never been - - as you said, you've

    17 never been diagnosed with any mental health issue;

    18 right?     No -- never been diagnosed with anxiety,

    19 depression, being distressed, or anything like that?

    20        A     No.

    21        Q     Do you have difficulty sleeping?

    22        A     From what?

    23        Q     Do you have any problems going to sleep or

    24 waking up in the morning?

    25       A      No.


                                     U.S. LEGAL SUPPORT                              Exhibit 1X
                                       (877) 479-2484White Decl. ISO Disney's SJ Motion P.0452
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 basically, my understanding was different.

     2       Q      What section was that?

     3       A      That Kendall was a repeat rider.                   So that's

     4   the only

     5       Q      There was an allegation in the complaint that

     6   Kendall was a repeat rider?

     7       A      A repeat rider.

     8       Q      Is that what you ' re referring to?

     9       A      Yes.

    10       Q      And you believe that was not accurate?

    11       A      My understanding of it is not - - was not the

    12 way it is on the -- on the complaint.

    13       Q      Explain to me what your understanding of it

    14 is.

    15       A      My understanding of it at the time that I said

    16 Kendall was a repeat rider was that, when we go - - and

    17 we've been several times -- he rides these pretty much

    18 every time we go.      And I thought that's what "repeat

    19 rider" was.

    20       Q      I see.    So --

    21       A      Not over and over and over the same ride .

    22       Q      I see .   So what you were -- what you meant was

    23 that there are certain rides that you make sure you get

    24 to have him go on when you go to the park, not that

    25 there are certain rides that he has to ride over and



                                      U .S . LEGAL SUPPORT                                  Exhibit 1X
                                         (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0453
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     1 over again.

     2       A     Yes, at that time.

     3       Q     Other than that clarification, is there

     4 anything else that you read in the complaint that you

     5 thought was inaccurate?

     6       A     I can ' t remember .     That was the one thing that

     7 stuck out to me.      And I don't have my highlighted notes

     8 to tell you .

     9       Q     But you said you spent time reviewing the

    10 complaint over the weekend?

    11       A     Yes .

    12       Q     And as you sit here today, other than that one

    13 allegation, there's nothing else in the complaint that

    14 you flagged as being inaccurate .            Is that right?

    15       A     I 'm not going to say that, because I -- I

    16 flagged some stuff.       But I don't have it in front of me,

    17 obviously, so I don't know.         Unless you allow me to go

    18 through the complaint.

    19       Q     But right now, you don ' t remember anything

    20 e l se, other than what you just mentioned to me?

    21       A     The only other thing may have been some

    22 swapping of K. A.C. and J . L.C.

    23       Q     Okay.   What do you mean by the "swapping of

    24 K.A.C. and J.L.C . 11 ?

    25       A     Where I thought it meant -- K. A.C. was


                                    U .S . LEGAL SUPPORT                                  Exhibit 1X
                                       (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0454
   Case 2:15-cv-05346-CJC-E Document Julia
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     1       A     So when you say "point of contact"

     2       Q    Who is the person that you talked to

     3 Behavioral Transformations about Kendall?

     4       A     It just depends who worked with him that day.

     5   So every day, when my husband picks him up or I pick him

     6 up,   they give a verbal report to us as well as the notes

     7 for that day.

     8       Q    Mm-hmm.

     9       A    And he talks to whoever that therapist is.

    10       Q     Do they report to you about whether he had a

    11 meltdown or an aggression?

    12       A     Yes.   It should be on those notes.

    13       Q    Okay.     In fact, they've reported, since he

    14 started going there in 2017, till now, a decrease in the

    15 number of aggressions they've observed while he's been

    16 at Behavioral Transformations ; right?

    17       A     I'm not looking at two years ' worth of graphs,

    18 so that would be somethi ng that you could get from them

    19 to see that .

    20       Q    Wel l , I' l l have you - - let me have you look at

    21 a graph.   This is Exhibit 4.

    22                    [Exhibit 4 marked for identification. ]

    23       Q     (BY MR. WHITE)     Actually, before you - - before

    24 you look at that document, let me ask you this:                       Have

    25 you noticed improvements in Kendall, in terms of



                                    U.S . LEGAL SUPPORT                                  Exhibit 1X
                                      (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0455
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     1 aggressions and negative behaviors, since he's been

     2 going to Behavioral Transformations?

     3      A     Yes.

     4      Q     Looking back at Exhibit 4, which is a chart

     5 that you produced

     6      A     What date is this chart?           It goes through

     7      Q     If you look at the bottom, it says,

     8 "Cumulative graph of Aggression Towards Others (May 1st,

     9 2017, to April 26, 2019) ."      Do you see that?

    10      A     At the bottom or

    11      Q     Yeah.     If you look at the bold heading at the

    12 top of the bottom chart

    13      A     Okay.

    14      Q      - - do you see "Cumulative graph" -- do you see

    15 that language?

    16      A     Yes.

    17      Q     What time period is that referring to?

    18      A     May 1st,    '17, through 4/26/19.

    19      Q     And if you look at the graph itself, do you

    20 see that, on the X axis, it refers to "Date" and it goes

    21 from left to right?     It says, first Date, "May 1st,

    22 2017," last date, "May 15, 2019.        11




    23      A     Uh-huh.

    24      Q     Do you see that?

    25      A     Yes.    I'm sorry.


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0456
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     1 office -- then he knows,      you know, That's not a place

     2 that I want to experience.

     3       Q     Does he like the beach?

     4       A     Yes.

     5       Q     Water?

     6        A    Yes .

     7       Q     But he'll see the water, he ' ll see the beach,

     8   and he'll know it's somewhere he likes going.                    But

     9   you're not showing him a picture of the beach and

    10 saying, "We're going to this location."

    11        A    No.     I'm not showing him the picture.                  Only by

    12 previous experience, I know he likes sand.                    I know he

    13 likes water .

    14       Q    And you mentioned vacations to New Orleans.

    15 You ' ve been to New Orleans a couple of times in the past

    16 ten years or so.       Do you have family there?

    17        A    I haven ' t been to New Orleans a couple of

    18 times.

    19       Q     I see a trip - - I'm sorry.             Louisiana you ' ve

    20 been to a couple of times.

    21       A     Yes .

    22       Q     Do you have family there in Louisiana?

    23       A     Yes .    My husband and I both do.

    24       Q     How frequently do you go to Louisiana?

    25       A     Recently, it hasn't been               we haven't gone


                                    U.S . LEGAL SUPPORT                                  Exhibit 1X
                                      (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0457
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     1 this year.

     2      Q       But you went every year 2011, 2012, 2013,

     3 2014; right?

     4      A       Yes.

     5      Q       And you would travel by car?

     6      A       Yes .

     7      Q       How long was that car ride?             About six, seven

     8 hours?

     9      A       About six hours.

    10      Q       Six hours?

    11      A       Yes.

    12      Q       Do you stop frequently?

    13      A       Yes .

    14      Q       What kind of car do you drive when you go down

    15 to Louisiana?

    16      A       Between 2011 and now, we've had several.                    But

    17 typically, SUV.

    18      Q       Okay.   And is Kendall strapped in, in a - -

    19      A       Yes .

    20      Q       - - harness?

    21      A       Yes.

    22      Q       What does he do in the car to bide his time?

    23      A       His videos.      His rope, keys.

    24      Q       You said "rope"?

    25      A       The rope.      The band.


                                      U.S. LEGAL SUPPORT                              Exhibit 1X
                                        (877) 479-2484White Decl. ISO Disney's SJ Motion P.0458
   Case 2:15-cv-05346-CJC-E Document Julia
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     1      A      If that's what it turns out to be.               I just

     2 know we didn't - - it wasn't nighttime when we got to

     3 Canada.

     4      Q      Did he have any meltdowns on the plane or at

     5 any point going from your house to Niagara Falls?

     6      A      None that I can recall.         The plane rides, most

     7 of the time he sleep.

     8      Q      He's sleeping on the plane?

     9      A      Yeah.

    10      Q      What do you do when you're having to wait to

    11 board?    How do you manage that?

    12      A      There's usually not a wait to board, because

    13 TSA helps us out .

    14      Q      Well, TSA may help you out in terms of getting

    15 through security, but you still have to wait before they

    16 call your group before you board; correct?

    17      A      And we priority board.

    18      Q      Right.   And so there's still time between when

    19 you get there and the time in which you board.                  What do

    20 you do during that time?

    21      A      He might get a snack.        We might walk around --

    22      Q      Do you - -

    23      A         in the area.

    24      Q      Do you split up?     Like, do you wait at the

    25 terminal and your husband -- or vice versa - - your


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0459
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     1 husband take him around the airport?               And then when you

     2 see that your group is to board, you'll text your

     3   husband and have him bring him a bite?

     4        A    Usually, they stay in the area.               They don't

     5   veer off too far from the -- where we're boarding.                    I

     6   typically stay in the priority board just to make sure

     7   that, you know, I hear when it's time for us to board.

     8   After we go through security, we take him to the

     9 restroom, make sure he has to use the bathroom.                     We may

    10 get him a snack.       And then him -- and maybe if the

    11 respite provider is there, they may walk with him up and

    12 down in front of the boarding - - in front of where we

    13 have to board.

    14        Q    When you say "respite provider," has this

    15 always been Maria who's gone on these vacations with

    16 you?

    17        A    Most.     Most.

    18        Q    Is there someone else who's gone on vacations

    19 with you, who's a respite provider?

    20        A    A while back, we had a gentleman that worked

    21 at Focus that went with us one time.

    22        Q    Okay.     And this is Maria Calderas?

    23        A    Yes.

    24        Q    Calderas?

    25        A    Mm-hmm.


                                     U.S. LEGAL SUPPORT                              Exhibit 1X
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     1         Q      What's the longest plane trip have you -- that

     2 you've ever been on?         Was it Niagara Falls or something

     3 else?

     4         A      Whatever is longer between Niagara Falls and

     5   Seattle.     I don't know.

     6         Q      Do you remember how long the trip was to

     7 Seattle?

     8         A      Possibly four hours, a little - - four .               Not

     9 sure.       Or either California.       I don't remember.

    10         Q     And when you got to Seattle, you also went on

    11 an Alaskan cruise; right?

    12         A      Yes.

    13         Q     And Kendall went on the cruise with you?

    14         A      Yes.

    15         Q      This was a seven-night Alaskan cruise to

    16 Vancouver?

    17         A      Yes .

    18         Q      And Juneau?

    19         A      Yes .

    20         Q      What cruise line was that?           Was that Royal

    21 Caribbean?

    22         A      Royal Caribbean.

    23         Q      Okay.   And did Royal Caribbean provide you any

    24 accommodations?

    25         A      Yes.    We had to go to guest services.               For


                                      U.S. LEGAL SUPPORT                              Exhibit 1X
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     1      A     He was allowed to use the restroom and --

     2      Q     Other --

     3      A     And that was outside of the --

     4      Q     Other than the restroom, you're not able to

     5 leave the ER, that location; correct?             For health

     6 reasons?

     7      A     He left out of the room.           I know that.

     8      Q     To go to the bathroom?

     9      A     Bathroom.

    10      Q     Any other reason?

    11      A     Possibly walk back and forth.

    12      Q     Okay.    So, as you said, you waited to get his

    13 laceration repair at the hospital for nearly six hours,

    14 and he didn't have a severe meltdown; right?

    15      A     Nothing that I would consider severe.

    16      Q     So you're saying he waited at the ER for about

    17 six hours to get a laceration repair, and there was

    18 nothing that -- he did not have any severe meltdown that

    19 you would view as severe; correct?

    20      A     Correct.

    21      Q     Do you recall him having any mild meltdowns

    22 during that time?

    23      A     I don't remember.

    24      Q     Do you remember him having any problems

    25 whatsoever during the ER visit?


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0462
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     1       A      I don't recall.

     2        Q     I'd like to show you what's been marked as

     3 Exhibit 8.

     4                      THE COURT REPORTER:           Nine.

     5                      MR. WHITE:      Exhibit 9.        Thank you.

     6                      [Exhibit 9 marked for identification.]

     7        Q     (BY MR. WHITE)           Do you recall this Stern

     8   Harris assessment that was done in home?

     9        A     I recall him giving it to me a while back.

    10        Q     Do you remember approximately when?

    11        A     No, I don't.

    12        Q     Okay.        Is this report basically instructions

    13 on how to manage Kendall's behaviors?

    14       A      Some    --   some of them.

    15        Q     Can you read

    16       A      Examples.

    17        Q     Can you read the first two sentences, please,

    18 where it starts with,          "Before any demand"?

    19        A     "Before any demand is placed to transition,

    20 conduct a preface assessment.              To do this, present KC

    21 with two to three highly preferred items (iPad, phone,

    22 Gatorade)."

    23        Q     Did you try doing this with Kendall?

    24       A      Preface assessment?

    25        Q     Yes.


                                        U.S. LEGAL SUPPORT                              Exhibit 1X
                                          (877) 479-2484White Decl. ISO Disney's SJ Motion P.0463
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     1      A      This is usually done when they're trying to

     2 get him to perform a task, so that's - -

     3      Q      And did you ever perform this preface

     4 assessment with Kendall?

     5      A      In the home environment, maybe.

     6                  MR. WHITE:      Go off the record.

     7                  THE VIDEOGRAPHER :         We're off the record

     8 at 3:16 p.m .    End of number 3.

     9                   [Off record:      3:16 p.m. to 3:56 p.m.]

    10                  THE VIDEOGRAPHER:          Back on the record at

    11 3:56 p.m.    Beginning of Disk 4.

    12      Q      (BY MR. WHITE)     Ms. Campbell, we were talking

    13 about the Stern Harris assessment, which we have marked

    14 for you as Exhibit 9.     Do you remember this assessment

    15 that was done?

    16      A      I remember him giving it to me for in home.

    17      Q      And what was the purpose of him giving it to

    18 you for in home?

    19      A      Because he was his in-home therapist.

    20      Q      And this was provided to you in terms of

    21 instructions on managing Kendall ' s behavior?

    22      A      We specifically talked about toileting, if

    23 Kendall engaged in some type of behavior when toileting.

    24      Q      It also talks about, if Kendall was

    25 non-compliant or aggressive, generally remove any


                                    U.S. LEGAL SUPPORT                                Exhibit 1X
                                      (877) 479 - 2484White Decl. ISO Disney's SJ Motion P.0464
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     1 reinforcers.         Do you see that?

     2      A       Yes .     But one of the goals we were working on

     3 was Kendall sometimes will not want to go to the potty

     4 and, therefore, have an accident.

     5      Q       Okay.

     6      A       So we allow him to play with a preferred item .

     7 When it's time to potty, first we have to go to the

     8 bathroom .    When he goes to the bathroom, he's

     9 immediately given whatever the reinforcer is.

    10      Q       But this isn't just limited to toilet

    11 training, is it?

    12      A       It can be for other things.

    13      Q       And it can be for other things outside the

    14 home as well?

    15      A       It depends on what it is.            But this is the

    16 goal we were working on.

    17      Q       And was this goal also to try to reduce

    18 negative behaviors?

    19      A       When it -- when it was in reference to the

    20 transitioning.         This was transition goals, so we were

    21 having issues with transitioning him from maybe a

    22 preferred thing, to the restroom.

    23      Q       So these were goals that were for

    24 transitioning Kendall from something preferred, to

    25 something that's not preferred.             Is that right?


                                      U.S. LEGAL SUPPORT                              Exhibit 1X
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     1        A    Yes.

     2        Q    And have you used some of these techniques or

     3 tools?

     4        A    I've used them with the bathroom.                And I've

     5   used them with food.

     6        Q    Have you used them outside the home?

     7        A    My husband and -- well, because Kendall's in

     8   the car with him a lot during the week, he's used them,

     9 for example, when we go to McDonald's.               So it used to be

    10 we would drive to McDonald's.          He already knows this is

    11 McDonald's.    "I know this is something                I'm gonna get

    12 fries."    Through the drive-through, he waits for his

    13 preferred item.    Depending on how long the

    14 drive-through, it can be five minutes, it can be ten

    15 minutes.    He gets his fries and nuggets, whatever it is.

    16 So previously, we would let him have fries in the car.

    17 We started withholding those fries and telling him,

    18 "Let's wait till we get home."          Home is typically --

    19 could be five to eight minutes away .

    20        Q    You knew I was going to ask you that.

    21        A    It's typically five to eight minutes away.

    22 But we established a routine.          We're not going to eat in

    23 the car.    We're going to wait until we get home.                   So

    24 that was our wait.       You know, wait till we get home.

    25 However, once we get home, it's immediate.                 The


                                    U.S. LEGAL SUPPORT                                 Exhibit 1X
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     1 immediate fries.         It's no longer waiting once we get

     2 home for him to have his fries.             Because he waited, we

     3 gave him his fries.

     4       Q      So if you wait in the car well without having

     5 a negative behavior, then, when we get home, you'll have

     6 your fries.        If you do something, you will get

     7 something.         Is that right?

     8       A      Right.

     9       Q      Kind of if you look up here - -

    10       A      If you - -

    11       Q            preference assessment - -

    12       A      Right.

    13       Q      - -   first this, then that.

    14       A      Then that.      So if you do the        --    whatever it

    15 is.   You need to go to the restroom.               We're gonna first

    16 go to the restroom, and then you're going to get your

    17 drink.    Let's go to the restroom first.                 So we take him

    18 to the restroom.         He goes to the restroom without any

    19 behaviors, he immediately gets the drink.

    20       Q      That's a --

    21       A      Most of the time, it's not a whole lot of time

    22 between the restroom and getting his drink.

    23       Q      But that's a behavioral technique; right?

    24 That's not a routine that you're trying to reinforce.

    25 That's a behavioral technique you're using to help with


                                      U.S. LEGAL SUPPORT                              Exhibit 1X
                                        (877) 479-2484White Decl. ISO Disney's SJ Motion P.0467
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     1        A   Yes.

     2        Q   Okay.    And that line sometimes could be

     3 fifteen, twenty minutes long; correct?

     4        A   Possibly.

     5        Q   Did -- did Kendall ever have a meltdown in a

     6 FastPass line using the GAC system?

     7        A   I don't know.

     8        Q   Would you remember if he did?

     9        A   Maybe.

    10        Q   There may be a time where you didn't remember?

    11        A   It's been a long time.          I don't know.

    12        Q   And I don't mean t o be insensitive when I say

    13 this, but he's had a lot of meltdowns since then.

    14        A   Yes.     He's had meltdowns since those times.

    15        Q   I'm saying since 2008 --

    16        A   Yes.

    17        Q    -- there's been a lot of meltdowns.                It's not

    18 easy to remember whether he had a meltdown at this

    19 location or another location.

    20        A   Yes.     I can't remember all the meltdowns he

    21 had.

    22        Q   Okay.    And as you said earlier, he's had

    23 meltdowns in a lot of different environments; right?

    24        A   Yes .

    25        Q   When was the first time that you visited Walt


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0468
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     1      A       I don't know if I did it at that particular

     2 visit.

     3      Q       Are you aware of what the FastPass system is?

     4 I know you mentioned the FastPass queue earlier.                   Do you

     5 know what the FastPass system is?

     6      A       You are assigned a time for a ride and you

     7 come back.

     8      Q       You understand that you get FastPasses that

     9 you can book before you even arrive at the park?

    10      A       Before your trip?

    11      Q       Yes, ma'am.   That you get

    12      A       Are those only for Disney guests?             That's the

    13 only resort?     Is that what you're talking about?

    14      Q       Well, do you understand that Disney resort

    15 guests, like yourself, you could even get priority for

    16 booking FastPasses?

    17      A       I understand that I can get a FastPass.

    18      Q       Okay.   And did you take advantage of the

    19 FastPass system during your March 2014 visit?

    20      A       I believe a cast member set us up.

    21      Q       But prior to your visit in March 2014, you did

    22 not book any FastPasses?

    23      A       I don't believe so.

    24      Q       Do you understand that you have up to three

    25 FastPasses that you can book before you go, where it


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0469
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     1 reserves your time to go on three different rides even

     2 before you enter the park?

     3       A      My understanding is you have to do it days in

     4   advance or something like that.

     5        Q     And you didn't try to do it days in advance?

     6        A     I didn't schedule any.

     7        Q     But you could have, if you wanted to.

     8        A     If I wanted to .    I also wanted to make

     9 clarification.

    10        Q     What are you -- are you referring back to the

    11 complaint?

    12       A      The complaint.     When it says "FastPasses" --

    13        Q     Mm - hmm.

    14       A      -- because we're using it interchangeably,

    15 those are actually readmit.

    16        Q     I understand.

    17        A     And so -- okay .

    18        Q     Thank you for clarifying, because sometimes

    19 readmission passes are referred to as "FastPasses."

    20        A     Right, right.

    21        Q     But you understand one of the differences is

    22 that a "re - ad" you can go on right away, whereas a

    23 FastPass has a window of time where you have to be at

    24 the ride?

    25       A      Yes.


                                     U.S. LEGAL SUPPORT                                Exhibit 1X
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     1 that ride to begin with, so he doesn't get upset?

     2      A     Right .

     3                  THE COURT REPORTER:           One second.         I'm

     4 sorry.

     5                  Go ahead.

     6      Q      (BY MR. WHITE)     The first day of your visit on

     7 March 10th, 2014, you didn't use DAS, did you?

     8      A     I don't remember .

     9      Q     Do you remember receiving re-ads that day?

    10      A     Let me look at them.

    11                  I was issued two readmission passes and

    12 may have used it, the readmission.

    13      Q     So you used the two re-ads that day?

    14      A     I believe so.

    15      Q     Do you remember what rides they were for?

    16      A     No.

    17      Q     Do you remember - - on March 10th, 2014, at

    18 Epcot, do you remember going in any standby lines?

    19      A     I don't remember .

    20      Q     But if you had two re-ads and three FastPasses

    21 on March 10th, between those five passes, you certainly

    22 could go on the -- Kendall's three favorite rides;

    23 right?

    24      A     I had two readmission passes on March 10th.                      I

    25 didn't have any FastPasses.


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
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     1      Q      Well, you had the FastPasses -- you could have

     2 utilized the FastPass system.

     3      A      I didn't have FastPasses.           I had two

     4 readmission passes.

     5      Q      But you understand you had the ability to use

     6 the FastPass system.      You chose not to.

     7      A      I didn't -- I didn't set up any.

     8      Q      Right.    But if you had set up three FastPasses

     9 and you had DAS return times and two re-ads, you

    10 certainly could go on the -- on Kendall's three favorite

    11 rides, couldn't you?

    12                   MR. DOGALI:     Object to the form of the

    13 question.

    14      A      I did not have any FastPasses.

    15      Q      (BY MR. WHITE)      But I'm saying with the

    16 three - - two re-ads you had, plus DAS, plus if you had

    17 decided to book any of those three FastPasses, that's

    18 certainly enough, between those three programs, to go on

    19 Kendall's three favorite rides at Epcot.

    20                   MR. DOGALI:     Same objection.

    21      A      I had two readmissions passes.              I did not have

    22 any FastPasses.      So I had two FastPasses and a DAS card.

    23 That's what I had.

    24      Q      (BY MR. WHITE)      And they could have put a

    25 return time in your DAS at guest relations; right?


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
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     1      Q      Okay.     And

     2      A      And you're talking about when I initially went

     3 to guest services?

     4      Q      On March 10th, 2014.

     5      A      Yes.      Okay.

     6      Q      But you had that one-on-one conversation with

     7 someone at guest relations.

     8      A      Yes .

     9      Q      And at some point, you got two re-ads.

    10      A      Yes.

    11      Q      Do you remember if you got the re-ads at that

    12 point in time or whether you got it when you came back

    13 to guest relations at some point?

    14      A      I believe she gave them to me with the DAS.

    15      Q      Okay.     And so you could have used the DAS for

    16 one ride and the two re-ads for Kendall's other two

    17 favorite rides.

    18                     MR. DOGALI:    Object to the form of the

    19 question.

    20      Q      (BY MR. WHITE)        To be able to go on all three

    21 rides at Epcot.

    22      A      I did not use the DAS that day.               I used the

    23 two FastPasses --

    24      Q      Right .     But you could have used DAS that day.

    25      A      I could have used it, yes.


                                     U.S. LEGAL SUPPORT                              Exhibit 1X
                                       (877) 479-2484White Decl. ISO Disney's SJ Motion P.0473
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     1      Q       And there could have been more -- could have

     2 been more than that?

     3      A       I don't know, because his card wasn't signed.

     4      Q       Okay.   But for Mad Tea Party, Dumbo, and

     5 Tomorrowland Speedway, you stood in the standby lines

     6 for those rides?

     7      A       I recall Mad Tea Party and Dumbo specifically,

     8 it was       it was a line, because he physically had to

     9 wait in line for those, when we would normally go

    10 through an exit.

    11      Q       And how long were those waits at Mad Tea Party

    12 and Dumbo?

    13      A       I don't know, because I don't ride tea -- the

    14 teacups, so I don't know.

    15      Q       What about Dumbo?      How long was the wait at

    16 Dumbo?

    17      A       I don't know.

    18      Q       Would it surprise you that, for most of the

    19 day, the wait was twenty minutes, sometimes more?

    20      A       I don't know how long the wait was.               The issue

    21 was he was in line and started to collapse, when we

    22 would normally, on those particular rides, go through

    23 the exit.

    24      Q       Okay.   There's no indication in your

    25 interrogatory response that he started to collapse, is


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
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     1 there?

     2         A   That he what?

     3         Q   That he started to collapse.             Do you see

     4   anything in your interrogatory response about him

     5   starting to collapse?

     6         A   No.

     7         Q   Okay.

     8         A   Just said that he had a meltdown .

     9         Q   And it says he had a meltdown because he had

    10 to go through the FastPass entrance?

    11         A   I'm not sure if that was FastPass or standby.

    12 I don't know.

    13         Q   Okay.    But you understand the FastPass

    14 entrance is what he would go on during -- with GAC?

    15         A   I don't know if that was FastPass or standby.

    16 I just know it was a line that we had usually not

    17 entered that way .     We would usually enter through the

    18 exit.

    19         Q   Okay.    So you ' re saying because he didn ' t

    20 enter through the exit, he had a me l tdown?

    21         A   Standing in line, he did.

    22         Q   Okay.    Did you ask anyone about entering

    23 through the exit?

    24         A   I don ' t recall, but I wanted -- I went there

    25 with my DAS - - yeah, with my DAS .        And that's where


                                    U .S . LEGAL SUPPORT                                   Exhibit 1X
                                      (877)   4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0475
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     1        A    I don't recall.

     2        Q    But if the posted wait times for that ride

     3   during the day were twenty minutes or more, then that

     4   would indicate that he stood in that line for more than

     5   twenty minutes.

     6        A    I don ' t know how long he stood in that line .

     7 I know he collapsed.       He was not in his wheelchair.                  So

     8   usually, we'd stay in the wheelchair at the exit .

     9        Q    What do you mean, "he collapsed"?

    10        A    Like, collapsed to the ground while standing

    11 in line.

    12        Q    Because he didn't want to move?               You don't

    13 mean collapse like he was injured?

    14        A    Like collapse, his body.

    15        Q    But you don ' t mean he was, like, injured or he

    16 was dehydrated?

    17        A    He was tired, maybe .        You know, he wanted his

    18 wheelchair.      I don't know why he decided to collapse to

    19 the ground.

    20        Q    How did you know he collapsed to the ground if

    21 you weren't in line with them?

    22        A    I   could see them in line.          I   could see my

    23 daughter trying to pick him up.

    24        Q    Mm - hmm.   And what happened after she picked

    25 him up?    She continued in the line?



                                    U.S. LEGAL SUPPORT                                Exhibit 1X
                                      (877) 479 - 2484White Decl. ISO Disney's SJ Motion P.0476
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 rides and we were encountering the same issues.                        I don't

     2 know.

     3         Q   You say you ' re encountering the same issues .

     4 Meaning you had to go in the standby line?

     5         A   They would not sign the card.                He had to go in

     6 a line, whether it was standby

     7         Q   And you say you were forced to wait in the

     8 regular line with other nondisabled children.                      Do you

     9 see that?

    10         A   Yes.

    11         Q   And so he went in at least three regular lines

    12 that day?    Or was it more than three?

    13         A   I'm not sure how many regular lines he went

    14 into.

    15         Q   Okay.   And you redeemed your DAS return time

    16 at Barnstormer?     Is that right?

    17         A   Yes .

    18         Q   Okay.   What did you do after Barnstormer?

    19         A   I don ' t recall .

    20         Q   Are there any other rides that you remember

    21 going on that day, other than the four that are

    22 identified in your interrogatory response?

    23         A   Those are the ones that I remember.

    24         Q   Were there any other rides that day that he

    25 wanted to go on, other than the four identified that he


                                    U .S . LEGAL SUPPORT                                  Exhibit 1X
                                       (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0477
   Case 2:15-cv-05346-CJC-E Document Julia
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     1      Q       You don't know?

     2      A       I don ' t know.

     3      Q       But you could have gone on it.

     4      A       If it was available --

     5      Q       Okay.

     6      A       -- and there were no --

     7      Q       And you didn't book any FastPasses this day?

     8      A       I don't recall any, other than what you said.

     9      Q       Okay.   The next day, you went to Hollywood

    10 Studios.     Is that right?

    11      A       Yes.

    12      Q       And you received a DAS for Buzz Lightyear?

    13      A       Yes.

    14      Q       And you went on Buzz Lightyear?

    15      A       Yes.

    16      Q       You also received a DAS for Toy Story                      I'm

    17 sorry.     American Idol Experience .          You received a

    18 FastPass for American Idol Experience?

    19      A       I don't know if it was FastPass or not.                    I'm

    20 not sure.

    21      Q       But you went to see the show?

    22      A       We tried to.

    23      Q       But you were in the show.

    24      A       Yes.

    25      Q       You went to the show.


                                      U.S. LEGAL SUPPORT                              Exhibit 1X
                                        (877) 479-2484White Decl. ISO Disney's SJ Motion P.0478
   Case 2:15-cv-05346-CJC-E Document Julia
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     1        A     Mm-hmm.

     2        Q    And he didn ' t like it?

     3        A     I don't know.     He just -- we had to leave.                   He

     4 just       making noise and

     5        Q     Did he -- was it the noise in the show?                   What

     6 caused him to not want to be in there?                He didn't enjoy

     7 it?

     8        A     I'm not sure what it was.

     9        Q     So you're not sure what caused him to have

    10 that meltdown there?

    11        A     No.   It could have been he was tired.                 We rode

    12 that one ride and he was tired.

    13        Q     So did you decide afterwards to go home?                   Or

    14 did you continue on that day?

    15        A     It says I left Hollywood Studios and I went to

    16 Epcot.

    17        Q     At Hollywood Studios, the only ride that he

    18 enjoys going on is Toy Story -- or, I'm sorry, Buzz

    19 Lightyear; right?      There's not really any other rides

    20        A     Right.

    21        Q     -- he goes on?

    22        A     Pretty much.

    23        Q    All right.      So he went on the ride he wanted

    24 to go on and didn't enjoy American Idol experience, and

    25 so then he went to Epcot.         Is that right?


                                     U.S. LEGAL SUPPORT                              Exhibit 1X
                                       (877) 479-2484White Decl. ISO Disney's SJ Motion P.0479
   Case 2:15-cv-05346-CJC-E Document Julia
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     1      A     Yes.

     2      Q     Okay.    And at Epcot, did you do anything or

     3 did you just get re-ads?

     4      A     I'm not sure if we did anything that day after

     5 his meltdown.      I'm not sure.

     6      Q     Okay.

     7      A     But I went back with the hopes of speaking to

     8 the first representative in guest services.

     9      Q     And what did you ta l k to her about?

    10      A     She wasn't there.

    11      Q     Did you get any re - ads that day?

    12      A     I got two.

    13      Q     And did you use them at Epcot?

    14      A     I could only use them at Epcot because they - -

    15 you can't use them in

    16      Q     So you went on two more rides at Epcot with

    17 Kendall that day?      This is day four, March 13th .

    18      A     I could have.     I don't remember.

    19      Q     Okay.    And then the last day, March 14th,

    20 Kendal l stayed in the hotel room with his respite

    21 provider, Maria?

    22      A     Yes .

    23      Q     What did he do in the hotel that day?

    24      A     I   would assume, but we wasn ' t there.                I

    25 believe we went to the park, me and my husband and


                                   U.S . LEGAL SUPPORT                                  Exhibit 1X
                                     (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0480
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 sitting there,       timing it.    I ' m paying attention to his

     2 behaviors.

     3         Q    Okay.     If you could go to November 2014, this

     4 was the trip that you - - after your Disney cruise;

     5   right?

     6         A    Yes .

     7         Q    And you       actually, let me back up for a

     8   second.   You wrote a letter complaining about your visit

     9   in March 2014 and complaining that -- that some of the

    10 rides -- you said they weren't signing the return time,

    11 that sort of thing;       right?    You wrote a letter to

    12 Disney?

    13         A    Yes .

    14         Q    Okay.    And as a result of your letter that you

    15 wrote to Disney, they provided you compensation in the

    16 amount of two hotel rooms for two days and six five - day

    17 park hoppers, didn ' t they?

    18         A    Yes.

    19         Q    And are you aware that that benefit is up to

    20 $6,000?

    21         A    I don't know how much it cost Disney to do

    22 that.

    23         Q    Well, do you know how much a room costs at the

    24 hotel?

    25         A    At a hotel, yes, I do.           I've paid for it.


                                     U.S . LEGAL SUPPORT                                       Exhibit 1X
                                          (877)   4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0481
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     1 that you received this compensation for the hotel and

     2 for the tickets, are you still suing as a result of that

     3 trip, even though you received all those benefits?

     4      A     When you say "compensation" --

     5      Q     You received free hotel stays; right?                     And you

     6 received free tickets.      Isn't that right?

     7      A     Yes .

     8      Q     Okay.     So what I ' m asking you is, even though

     9 Disney provided you those benefits as a result of the

    10 letter you wrote complaining about that visit, are you

    11 still suing Disney for that visit?

    12      A     What I asked for was accommodations and

    13 reimbursements.      They decided, whoever --

    14      Q     I'm just asking you.

    15      A      --   decided what to give me.

    16      Q     I'm just asking you, based on what                 --   even

    17 though they gave you these things, are you still suing

    18 Disney for that visit in March 2014?

    19      A     Yes, I am.

    20      Q     Okay.    And then turning to November of 2014,

    21 it says that you experienced a SO-minute wait at

    22 Speedway, a 20 - minute wait at teacups, and a 25 - minute

    23 wait at mini roller coster.

    24      A     Yes .

    25      Q     Do you see that?


                                   U.S . LEGAL SUPPORT                                  Exhibit 1X
                                     (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0482
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     1      A     Yes.

     2      Q     So he waited in the standby lines for those

     3 rides?   Kendall did?

     4      A     I don't think he physically waited in the

     5 lines.

     6      Q     Okay.    So what do you mean by "experienced a

     7 fifty - minute wait"?   Are you saying his DAS return time

     8 was fifty minutes?

     9      A     According to his DAS.

    10      Q     Okay.    So he went on three rides using DAS

    11 that day, day one?

    12      A     Yes.

    13      Q     Okay.

    14      A     He would have also received some readmit

    15 passes that

    16      Q     I think you said he got five readmits; right?

    17      A     Yes .

    18      Q     So he went on at least eight rides that day at

    19 Magic Kingdom?

    20      A     I   don't know if he did eight.

    21      Q     Well, did he use all of his re-ads?

    22      A     I   don't remember.

    23      Q     Okay.

    24      A     I   don't remember.

    25      Q     But if he had used all his re - ads, it would



                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0483
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 have been five plus three equals eight.

     2       A     Yes .

     3       Q     Okay.    Do you remember if you used most of the

     4 re - ads?

     5       A     I believe so.

     6       Q     So he probably, that day, went on seven to

     7 eight rides?

     8       A     Yes .

     9       Q     In fact, you stated that it was a, quote,

    10 relatively satisfying experience that day, end quote.

    11 Is that right?

    12       A     Yes.

    13       Q     Okay.    And then at day two, you went to Animal

    14 Kingdom again?

    15       A     Yes.

    16       Q     And you tried to use a FastPass for DINOSAUR

    17 and Safari?     I'm sorry.   It says, "arranged times . "                    Do

    18 you know what that refers to?

    19       A     So I went to guest services to try to get

    20 readmit passes and was told I could not get any.

    21       Q     Okay.    This was by a woman by the name of

    22 Susan?

    23       A     Susan.    Correct.

    24       Q     But Susan arranged to set up wait times in

    25 advance for you?


                                    U.S. LEGAL SUPPORT                                    Exhibit 1X
                                        (877)   479 - 2484White Decl. ISO Disney's SJ Motion P.0484
   Case 2:15-cv-05346-CJC-E Document Julia
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     1      A      On the rides that were left that day.

     2      Q      Okay.    So was that an accommodation that she

     3 provided to you?

     4      A      She set up this.     Yes, she did.

     5      Q      Okay.   And that was for DINOSAUR, Safari, and

     6 the Lion King show?

     7      A      I'm not sure about the Lion King show.                 That

     8 might have been something we

     9      Q      Okay.    But the rides that you and Kendall or

    10 the rides that Kendall wanted to go on that day, he went

    11 on after Susan set up those times?

    12      A      Yes.    And I believe it was DINOSAUR and the

    13 Safari.

    14      Q      And after Kendall went on the rides he wanted

    15 to go on, you went to Epcot?

    16      A      Yes, we went to Epcot.

    17      Q      Okay.   And you received two readmission passes

    18 at Epcot?

    19      A      Correct.

    20      Q      But those were to be used the next day?

    21      A      Yes.

    22      Q      Okay.   And the next day, day three,

    23 November 26th, you used two re-ads and also redeemed a

    24 return time, a DAS return time, for Soarin'.                 Is that

    25 right?


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0485
   Case 2:15-cv-05346-CJC-E Document Julia
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     1        A    Yes.

     2        Q    And so the rides that you wanted to go on at

     3 Epcot that day, you were able to go on using DAS and the

     4 two readmission passes.

     5        A    Well, I had to use the readmission passes

     6 because I got a 110-minute wait on the DAS.

     7        Q    Well, it says that you used - - I thought you

     8   used the DAS for Soarin' .

     9        A    I don't recall using the DAS for Soarin'.                    I

    10 thought we -- whatever his card says.

    11                    MR. WHITE:    I'd like to mark as

    12 Exhibit 16.

    13                    [Exhibit 16 marked for identification . ]

    14        Q    (BY MR. WHITE)      Do you see the last entry

    15 refers to Soarin'?

    16        A    Yes.

    17        Q    So this -- and it shows crossed out; correct?

    18        A    Yes.

    19        Q    So you used the DAS return time for Soarin'

    20 that day, didn't you?

    21        A    Yes.

    22        Q    And then you also used two readmission passes

    23 that day?

    24        A    Yes.

    25        Q    So you went a total -- the three rides that



                                    U.S. LEGAL SUPPORT                              Exhibit 1X
                                      (877) 479-2484White Decl. ISO Disney's SJ Motion P.0486
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 Kendall wanted to go on that ride                  that day, you went

     2   on using DAS and readmission passes.

     3       A      Yes .

     4       Q     Now, in your interrogatory responses on

     5 page 15, you say you don't recall all rides.                      So some of

     6 these descriptions only include certain rides that you

     7 remember.     But you -- but you would have had gone on

     8 even more rides than identified in the response.

     9        A     I don't know.

    10       Q     Well, you say you don't recall all rides .                        So

    11 doesn't that indicate there were more rides --

    12       A      I don ' t recall all rides that we went on .

    13       Q     Right .   So you went on even more rides than

    14 those listed in this response.

    15       A      I don't know.

    16       Q     Well, why would you say you don't recall all

    17 rides if there weren't additional rides that you went

    18 on?

    19        A    Because I don't recall the rides .

    20       Q     Wel l , l ook at that exhibit I            just put in front

    21 of you.     What rides does it indicate in that exhibit?

    22        A     For which day?

    23       Q     Just identify the rides that you went on

    24 during the November visit, using your DAS.

    25       A     There are five rides on here.


                                     U .S . LEGAL SUPPORT                                  Exhibit 1X
                                        (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0487
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     1      Q     Okay.    But even though someone didn't sign the

     2 card, you were able to go on all those rides.

     3      A     Okay.    So we're back on the March --

     4      Q     Referring to March.

     5      A     March.

     6      Q     Even though they didn't sign your card, you

     7 still went on all those rides with Kendall.

     8      A     Yes.

     9      Q     And if you could turn to page 16, please, of

    10 the interrogatory responses.

    11      A     Okay.

    12      Q     Do you see ten -- Question 10?              What does

    13 it -- what does it read?

    14      A     "Identify any alleged route, repeat riding

    15 routine, or other alleged need of K.A.C. to experience

    16 the attractions at any Disney park."

    17      Q     And you said earlier he's -- Kendall is not a

    18 repeat rider; right?

    19      A     Right.

    20      Q     And it also says here he doesn't experience

    21 the rides in any specific order; right?              There's no

    22 specific order to his rides.

    23      A     Correct.

    24      Q     So if you could turn -- or let me ask you,

    25 your next visit was when?       In May of 2016?


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0488
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     1         A    Yes.

     2         Q   And you didn't go to the park all the days

     3   that you were in Orlando that trip; right?

     4         A   No.     I don't recall going every day.

     5         Q    Do you recall going three days?             Does that

     6   sound right?

     7         A   That sounds about right.

     8         Q   Okay.    And you received three re-ads at Epcot?

     9         A   That sounds correct.

    10         Q   Okay.    And you also used -- you received a DAS

    11 that day?

    12         A    I remember it was tied to his card, Kendall's

    13 ticket, because it was electronic.             So it was different.

    14 So that was the first time we did that.

    15         Q   And you received a DAS - - you used a - - excuse

    16 me.     You received a DAS or had a DAS during all the days

    17 of your visits in March 2014, November 2014, and May of

    18 2016.

    19         A    Yes, I received a DAS.

    20         Q   Okay.    And do you have any disabilities?

    21         A   Me?

    22         Q    Yes.

    23         A   No.

    24         Q   Okay.    Were you issued a DAS yourself?

    25         A   No.


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
                                      (877) 479-2484White Decl. ISO Disney's SJ Motion P.0489
   Case 2:15-cv-05346-CJC-E Document Julia
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     1      Q       Well, do you remember what rides you went on

     2 in May of 2016?

     3      A       Not without looking at my notes.

     4      Q       Let me put Exhibit 17.

     5                      [Exhibit 17 marked for identification.]

     6      Q       (BY MR. WHITE)      If you could go to the last

     7 page, please, Ms . Campbell, it says a "VERIFICATION . "

     8      A       Okay.

     9      Q       You signed this .      Is that right?

    10      A       Yes.

    11      Q       Being true and accurate?

    12      A       Yes.

    13      Q       Okay.    And if you could go to - - I'm sorry

    14 it's not marked, but it's the answer to Interrogatory

    15 Number 18.

    16      A       Okay.

    17      Q       So this discusses your May 2016 visit to Walt

    18 Disney World?

    19      A       Yes .

    20      Q       And it says that you used your complimentary

    21 tickets and purchased additional tickets.

    22      A       Yes .

    23      Q       Is that referring to the complimentary tickets

    24 in relation to your March 2014 visit?

    25      A       It would have been the complimentary tickets



                                     U.S . LEGAL SUPPORT                                  Exhibit 1X
                                       (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0490
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     1 that I received.

     2      Q      From the March 20 - - 2014 visit that we talked

     3 about earlier.

     4      A      Yes.

     5      Q      Okay.   And it also says you received three

     6 re-ads, Epcot, and a DAS?

     7      A      Yes .

     8      Q      Okay.   And you used the DAS and readmission

     9 passes to go on Spaceship Earth on May 17th.                    Is that

    10 right?

    11      A      Yes.

    12      Q      Do you remember any other rides you went on

    13 that day?

    14      A      No, I don't .

    15      Q      Is it possible you could have used the DAS - -

    16 you certainly could have used the DAS to go on Soarin'

    17 that day if you wanted to.

    18      A      It's possib l e that I used it for that.

    19      Q      So if you didn ' t go on Soarin' that day, would

    20 it have been because you didn't want to go?

    21      A      I don't know, because I don ' t know if we went

    22 to Soarin' or not.

    23      Q      Okay.   The next day, you went on three

    24 rides - - or, excuse me, two rides at Animal Kingdom .

    25      A      Yes.


                                   U.S . LEGAL SUPPORT                                  Exhibit 1X
                                     (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0491
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     1       Q     And a restaurant.

     2       A     Yes .

     3       Q     Do you know if you used the DAS for those

     4 rides?

     5       A     I don't know.

     6       Q     Okay.     And the following day, you went to

     7   Epcot Test Track?

     8        A    Yes .

     9       Q     Okay.     Are there any other rides you remember

    10 going on during those visits?

    11        A    No.

    12       Q     Okay.     And certainly, you could have used your

    13 DAS and FastPass to go on more rides if you had wanted

    14 to.   That's right?

    15       A     In Epcot.

    16       Q     And at Animal Kingdom, you could have gone on

    17 more rides if you wanted to .         And I ' m not saying you did

    18 or you didn't want to.

    19        A    I don ' t know

    20       Q     But if you wanted

    21       A           if I did or not.

    22       Q           to go on more rides, you could have used

    23 your DAS and FastPasses to go on them; right?

    24       A     The FastPasses or readmit passes that I had

    25 were for Epcot.


                                    U.S . LEGAL SUPPORT                                  Exhibit 1X
                                      (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0492
   Case 2:15-cv-05346-CJC-E Document Julia
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     1        Q    Okay.     I'm referring to the FastPass system,

     2 where you book in advance.

     3        A    Oh, okay .

     4        Q    If you wanted to go on more rides during this

     5 May 2016 visit, you could have used your DAS return

     6 times or you could have booked FastPasses beforehand;

     7 right?

     8                     MR. DOGALI:     Object to the form of the

     9 question.

    10        A    I could have used FastPasses if I booked --

    11        Q    (BY MR. WHITE)        And if you had booked them,

    12 you would have been able to go on even more rides?

    13        A    Perhaps.

    14        Q    And if you had booked more return times under

    15 DAS, you could have gone on more rides; right?

    16        A    I don't know what I had on DAS, because it was

    17 electronic, so I don't know .

    18        Q    But these are the -- the rides that you went

    19 on during this May 2016 visit are the rides that you

    20 wanted to go on.

    21        A    Yes.

    22        Q    When you went to the park for this May 2016

    23 visit, did you go to guest relations again to get the

    24 DAS?

    25        A    Yes.


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
                                      (877) 479-2484White Decl. ISO Disney's SJ Motion P.0493
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 doesn't have to be with you.          Like, Kendall could be

     2 back with his dad or the sister while you went and got

     3 the return time.

     4      A     Yes.

     5      Q     And there's no indication -- in May 2016, in

     6 looking at this interrogatory response, at no time in

     7 May 2016 did Kendall have a meltdown; right?

     8      A     He did have some issues.             When we got back to

     9 the hotel, there were a few.

    10      Q     Okay.    But at the park, based on your

    11 response, he had no meltdown at the park during that

    12 visit.

    13      A     Not that I can recall.

    14      Q     And if he would have had a severe meltdown,

    15 you would have recalled that, based on your testimony

    16 earlier today; right?

    17      A     Yes .

    18      Q     So by al l i ndications, he did not have a

    19 meltdown at the park.

    20      A     I don't remember, but I do know from that

    21 particular trip he did have some behavior issues.

    22      Q     Okay.   You said he had behavior issues when

    23 you went back to the hotel?

    24      A     Yes .

    25      Q     What were those issues?


                                   U .S . LEGAL SUPPORT                                    Exhibit 1X
                                      (8 7 7) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0494
   Case 2:15-cv-05346-CJC-E Document Julia
                                     469-46 Campbell
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     1      A       Punching, hitting, frustration.

     2      Q       Okay.     Do you have any idea of what that was a

     3 result of?

     4      A       No.

     5      Q       And have you ever gone to Disneyland in

     6 California under the DAS system?

     7      A       No.

     8      Q       Okay.     And your claims in this case, the

     9 incidents relating to the discrimination you're

    10 claiming, all occurred at Walt Disney World in Florida;

    11 right?

    12      A       Under the DAS.

    13      Q       Right .    But I ' m saying

    14      A       Yes.

    15      Q       All the -- I just want to understand.                   All the

    16 incidents you've complained about in relation to your

    17 discrimination claim all occurred                  you allege,

    18 occurred at Walt Disney Wor l d in Florida.                 Is that

    19 right?

    20      A       Yes.

    21      Q       None of it occurred in California; correct?

    22      A       No.

    23      Q       "No" meaning no, none of it occurred in

    24 California?

    25      A       No.     Correct.


                                       U.S. LEGAL SUPPORT                              Exhibit 1X
                                         (877) 479-2484White Decl. ISO Disney's SJ Motion P.0495
   Case 2:15-cv-05346-CJC-E Document Julia
                                     469-46 Campbell
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     1      Q     You did not mention -- he did not have any

     2 meltdowns during the November 2014 visit; right?

     3      A     I don't recall any.

     4      Q     Okay.     And as we talked about earlier, if he

     5 had had a meltdown, it's something you would remember.

     6      A     Yes .

     7      Q     Okay.     And so that would lead you to believe

     8 that he did not have a meltdown during the November 2014

     9 visit?

    10      A     I don't know if he had one --

    11      Q     Okay.

    12      A      -- or not.

    13      Q     And in the March 2014 visit, you mentioned

    14 that he had a meltdown because he was trying to go

    15 through the back entrance to a ride?

    16      A     Repeat.

    17      Q     You mentioned that he had a meltdown because

    18 he had to go through -- he wanted to go through the back

    19 entrance of a ride, the Mad Tea Party?

    20      A     He had a meltdown during that particular ride.

    21      Q     While he was on the ride?

    22      A     Standing in line.

    23      Q     But you don ' t know the reason why he had that

    24 meltdown, do you?      Isn't it possible the meltdown could

    25 have been because of a loud noise or for some other


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0496
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 reason?

     2       A     He collapsed on the floor, on the ground .

     3        Q    Isn't it possible he didn't want to go on the

     4   ride and that's why he collapsed?

     5       A     No.     He rode it.

     6        Q    He did ride it?       Did he have a good time?

     7       A     He liked the ride.

     8        Q    Okay.     And you said he also had a meltdown

     9   where he escaped from his wheelchair and was running

    10 around It's Tough to be a Bug.

    11        A    Correct.

    12       Q     Did he enjoy that ride as well?

    13       A     Yes .

    14       Q     Okay.     Have you told -- is there anything you

    15 haven't told me about these meltdowns that you claimed

    16 he had at Walt Disney World?

    17        A    What else are you wanting me to --

    18        Q    I just want to make sure I've gotten

    19 everything you remember about these meltdowns you've

    20 told me.    Is that right?

    21       A     Yes.

    22        Q    He was never physically injured at the parks?

    23       A     No.

    24        Q    Were you or your husband ever physically

    25 injured at the parks?


                                    U.S. LEGAL SUPPORT                              Exhibit 1X
                                      (877) 479-2484White Decl. ISO Disney's SJ Motion P.0497
   Case 2:15-cv-05346-CJC-E Document Julia
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     1         A     No.

     2                        MR. WHITE:    I'd like to mark as

     3 Exhibit 18.

     4                        [Exhibit 18 marked for identification.]

     5         Q      (BY MR. WHITE)       Ms. Campbell, these are the

     6 pictures, or photos, that you have produced in this

     7 case.       Can you just go through these and let me know if

     8 there are any photos which do not involve a visit to the

     9 parks in 2014 or 2016?          I want to confirm that all these

    10 photos have to do with your visits in 2014 and in 2016.

    11         A     So you want '14 and '16.

    12                        I know these were '14.

    13         Q     Which -- can you refer to the number at the

    14 bottom right-hand corner?

    15         A      0937.

    16         Q     That's '14?

    17         A     That's '14.

    18         Q      Everything else leading up to it is '16?

    19         A      I believe everything leading up -- no .                 I

    20 don't know.         These might have been -- I'm merging

    21 '14 and '13, so I don't -- I'm not sure.

    22                        I know this is '13.

    23         Q     Mm-hmm.

    24         A     This is '13.

    25         Q     Which number is this?


                                       U.S. LEGAL SUPPORT                              Exhibit 1X
                                         (877) 479-2484White Decl. ISO Disney's SJ Motion P.0498
   Case 2:15-cv-05346-CJC-E Document Julia
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     1                      MR. WHITE:    I ' ll mark as Exhibit 20.

     2                      THE COURT REPORTER:         19.

     3                      [Exhibit 19 marked for identification.]

     4       Q      (BY MR. WHITE)       Do you see the report placed

     5 before you is Exhibit 19?          Refers to March 12th, 2014.

     6       A      Yes .

     7       Q     And this is where you         --   this is when you

     8 claimed that he stood in the standby line.                    Isn't that

     9 right?

    10       A      I don't know this particular day that it

    11 was       this was Magic Kingdom or --

    12       Q      Yes .

    13       A      If that's the date that I said, then

    14       Q     So I'd like for you to turn to the page

    15 marked

    16                      Let me ask you:      What time did you go to

    17 the park this day?

    18       A      I don't recall.

    19       Q      Do you -- when do you usually go to the parks

    20 with your son?

    21       A      Could be 10:30, 11:00 o ' clock.

    22       Q     And when do you usually leave?

    23       A      4:00 or 5:00.

    24       Q     So during these visits, you spend about five

    25 to six hours in the park .         Is that right?


                                     U.S . LEGAL SUPPORT                                 Exhibit 1X
                                       (877) 4 79 - 24 84White Decl. ISO Disney's SJ Motion P.0499
   Case 2:15-cv-05346-CJC-E Document Julia
                                     469-46 Campbell
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     1       A       Yes, mm-hmm.

     2       Q       During each day?     Okay.       That's a "yes"?

     3       A       Yes .

     4       Q       If you could go to page 79 of 86, please.

     5       A       Okay.

     6       Q       Do you see "Tomorrowland Speedway"?

     7       A       Yes .

     8       Q       Okay.   You said you usually go in the park - -

     9 you said 10:30?

    10       A       10:30, 11:00 o'clock.

    11       Q       Okay.   So the times at 10:30 and 11:00 o'clock

    12 for Tomorrowland Speedway are more than twenty minutes.

    13 Isn ' t that -- twenty minutes or more.               Isn't that right?

    14       A       Yes.

    15       Q       Okay.   And all the way up until you typically

    16 leave the park, it's always twenty minutes or more,

    17 isn ' t it?

    18       A       Yes.

    19       Q       So does this refresh your recollection that he

    20 waited twenty minutes in line at Tomorrowl and Speedway?

    21       A       What does his card say?

    22       Q       Well, you said he stood in the regular line,

    23 that he didn ' t use his DAS at Tomorrowland Speedway.

    24       A       Is this when they didn ' t sign the card?

    25       Q       Yes, ma'am.


                                    U .S . LEGAL SUPPORT                                  Exhibit 1X
                                       (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0500
   Case 2:15-cv-05346-CJC-E Document Julia
                                     469-46 Campbell
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     1       A     I don't know, because I don't know -- if, you

     2 know, they didn't sign the card, I can't tell you.                    All

     3 I know is we stood in the line.

     4       Q    Okay.    But Kendall is able to stand in line

     5   for ten or fifteen minutes, isn't he?

     6       A    Just depends.

     7       Q    Depends on how the day is going?

     8       A     Yes.

     9       Q    Okay.     So if it's a good day, he is able to

    10 stand in line for ten to fifteen minutes?

    11       A     Yes.

    12       Q    All right.     If it's a good day, could he stand

    13 in line for twenty minutes?

    14       A    Not idly just standing in line.

    15       Q    Okay.    Did this start off as a good day at

    16 Magic Kingdom?

    17       A    On the 12th?

    18       Q    Yes, ma'am.

    19       A     I'm gonna refer back because . . .

    20 [Inaudible] .

    21                    Did it start out as a good day for

    22 Kendall, is what you're --

    23       Q     Yes.   Did it start off as a good day for

    24 Kendall?

    25       A    Up until he had the meltdowns at the -- on the


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0501
   Case 2:15-cv-05346-CJC-E Document Julia
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     1       A     Such as?

     2       Q     I'm just asking.       Do you know what a contract

     3 is?

     4       A     Yes.

     5       Q     All right.    And so what is a contract?

     6       A     It's a legally binding agreement .

     7       Q     And my question to you is, do you have a

     8 contract with Disney with regards to your visits to Walt

     9 Disney World?

    10                    MR. DOGALI:     Object to the form of the

    11 question.

    12       A     I haven't signed any contract.

    13       Q     (BY MR. WHITE)       Okay.    So you do not have a

    14 contract, either on behalf of yourself or Kendall, with

    15 regards to any of the visits to Walt Disney World.                        Is

    16 that right?

    17                    MR. DOGALI:     Same objection.

    18       A     I don't recall a contract, unless you're

    19 considering a DAS or GAC a contract .

    20       Q     (BY MR. WHITE)       Okay.    So you have not signed

    21 any contract with Disney with regards to the visits that

    22 you took Kendall to Walt Disney World under DAS?

    23       A     A contract for what?

    24       Q     Well, you said a legally binding agreement.

    25 You have not signed anything that binds you or Disney


                                    U.S. LEGAL SUPPORT                                  Exhibit 1X
                                        (877)   479-2484White Decl. ISO Disney's SJ Motion P.0502
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 to -- with regards to your visits to the parks?

     2        A    No.

     3        Q    Okay.     If you look back at the exhibit which

     4 relates to -- which has your DAS card, please.                    I'm

     5   sorry.   I don't have it at my fingertips, but the DAS

     6   card that you looked at earlier.

     7        A    Which one?     Oh, this one?

     8        Q    Yes .    Do you see that?

     9                     MS. SCHANZ:    She doesn't have the front

    10 of it.

    11        A    Hmm?     This one?

    12                     MR. WHITE:    We'll put that as one

    13 exhibit.    We'll fix that later.

    14        Q     (BY MR. WHITE)       Is this the DAS card that you

    15 signed?

    16        A    Yes.

    17        Q    And you see where it says, "By signing this

    18 card, you acknowledge that the recipient of this card

    19 has a disability requiring the service of this program

    20 and accepts the terms and conditions of this card"?

    21        A    Yes.

    22        Q    And do you see, at the very top, it

    23 italicizes -- it says, "This service does not provide

    24 immediate or priority attraction access"?

    25        A    Yes.


                                     U.S. LEGAL SUPPORT                              Exhibit 1X
                                       (877) 479-2484White Decl. ISO Disney's SJ Motion P.0503
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 system because the presence of persons with

     2 developmental or cognitive impairments in its theme

     3 parks upsets the Disney, quote, magic?

     4      A     I don't have that information.

     5      Q     Do you have any evidence or information to

     6 support the allegation that Disney designed DAS to

     7 reduce the number of autistic and cognitively impaired

     8 persons within its parks?

     9      A     I don't have that information.

    10      Q     Do you have any information or evidence to

    11 support the allegation that Disney trained its employees

    12 to inconsistently, arbitrarily, and capriciously grant

    13 additional passes to guests with developmental disorders

    14 and cognitive impairments to deter those guests from

    15 returning to the parks?

    16      A     I don't have that information.

    17      Q     Do you have any information or evidence that

    18 supports the allegation that Disney implemented DAS to

    19 cleanse its parks of anti-magic guests with autism?

    20      A     I don't have any.

    21      Q     You don't have any evidence that Disney

    22 intentionally tried to prevent kids with autism, like

    23 your son, from accessing its parks, do you?

    24      A     I don't have that information.

    25      Q     Do you have any information or evidence to


                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0504
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 support an allegation that Disney intentionally tried to

     2 injure your son?

     3         A   I don't have that information.

     4         Q   You don't have any evidence of that; correct?

     5         A   I don't have that information.

     6         Q   You don't have any evidence of it.

     7         A   No.

     8         Q   Is that what you ' re saying?

     9         A   No.   I don't have that information.

    10         Q   And you don ' t have any evidence of that

    11 information, do you?

    12         A   No.

    13         Q   Have you or Kendall ever been evaluated by an

    14 expert in connection with this lawsuit?

    15         A   No.

    16                   MR. WHITE:    I have no further questions,

    17 but I'm going to be keeping this deposition open just

    18 because I have not had an opportunity to review the

    19 198 pages of documents or the 16 or 18 thousand pages

    20 that were produced to us on Friday night.

    21                   MR. DOGALI:     I don ' t agree that's

    22 appropriate, but I don't see - - you can say whatever you

    23 like.

    24                   MR. WHITE:    And Madam Court Reporter, can

    25 you indicate how much time we have left on the record,



                                   U.S . LEGAL SUPPORT                                  Exhibit 1X
                                     (877) 4 79 - 2 4 84White Decl. ISO Disney's SJ Motion P.0505
   Case 2:15-cv-05346-CJC-E Document Julia
                                     469-46 Campbell
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     1             IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
     2

     3 T.P., by and through S.P . ,
       as next friend, parent, and
     4 natural guardian, et al.,

     5       Plaintiffs,
                                            CIVI L ACTION NO.
     6 V.                                   2:15-cv-05346-R-E

     7 Walt Disney Parks and
       Resorts U.S., Inc.,
     8
             Defendant.
     9 ********************************************************

    10                     REPORTER'S CERTIFICATION

    11                DEPOSITION OF JULIA LEVY CAMPBELL

    12                             VOLUME I

    13                        NOVEMBER 11, 2019

    14 ****** * ********************************** * **** * *********

    15       I, Candyce E. Fisher, Certified Shorthand Reporter

    16 in and for the State of Texas, hereby certify to the

    17 following:

    18      That the witness, Julia Levy Campbe l l, was duly

    19 sworn by the officer and that the transcript of the oral

    20 deposition is a true record of the testimony given by

    21 the witness;

    22      That reviewal by the witness of the deposition

    23 transcript was requested;

    24      That the deposition transcript was submitted on

    25                          to Andy Dogali, attorney for the



                                   U.S. LEGAL SUPPORT                                Exhibit 1X
                                     (877) 479 - 2484White Decl. ISO Disney's SJ Motion P.0506
   Case 2:15-cv-05346-CJC-E Document Julia
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     1 witness, for examination, and a signed errata shall be

     2 returned to U . S. Legal Support, Inc. within 30 days, by

     3

     4      That the amount of time used by each party at the

     5 deposition is as follows:

     6              Mr. White - 6 hrs, 4 mins

     7      That pursuant to information given to the

     8 deposition officer at the time said testimony was taken,

     9 the following includes counsel for all parties of

    10 record:

    11              Andy Dogali, Attorney for Plaintiffs

    12              Jeremy M. White and Sarah Schanz, Attorney for

    13 Defendants

    14       I further certify that I am neither counsel for,

    15 related to, nor employed by any of the parties or

    16 attorneys in the action in which this proceeding was

    17 taken, and further that I am not financially or

    18 otherwise interested in the outcome of the action.

    19       Certified to by me this 26th of November 2019 .

    20

    21

    22

    23                   CANDYCE E. FISHER, Texas CSR No. 9421
                         Expiration Date:  12/31/2019
    24

    25



                                   U.S. LEGAL SUPPORT                              Exhibit 1X
                                     (877) 479-2484White Decl. ISO Disney's SJ Motion P.0507
